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                                                      U.S. Department of Justice


                                                      United States Attorney
                                                      Eastern District of New York
RCH                                                   610 Federal Plaza
F. #2022R01030                                        Central Islip, New York 11722



                                                      May 29, 2024

By ECF

The Honorable Joanna Seybert
United States District Judge
Eastern District of New York
100 Federal Plaza
Central Islip, New York 11722

               Re:     United States v. Devolder Santos
                       Criminal Docket No. 23-197 (S-2) (JS)

Dear Judge Seybert:

                 Yesterday, a grand jury sitting in the Eastern District of New York returned a
second superseding indictment against defendant George Anthony Devolder Santos in this matter.
The government respectfully submits this letter to advise the Court that the second superseding
indictment makes only minor changes to the first superseding indictment as outlined herein. It
does not allege new criminal conduct, charge the defendant with new crimes, or make new
substantive allegations against the defendant. Rather, in anticipation of a September 9, 2024, trial,
the changes made in the second superseding indictment correct scrivener’s errors and make other
minor changes to what the government expects will be the operative charging instrument at trial.
First, the second superseding indictment corrects scrivener’s errors involving the anonymized
labels of the individuals referenced in Counts Eleven through Eighteen. The government
previously advised defense counsel that such errors existed in a letter dated October 27, 2023.
Second, the second superseding indictment modifies the language in paragraphs 44 and 45 to more
clearly describe the alleged fraudulent contribution at issue. Third, the second superseding
indictment removes the “to wit” clause of Count Ten, in light of the government’s agreement, as
detailed in its forthcoming response to the defendant’s pending motion, to provide the defendant
with certain particulars related to Counts Nine and Ten. Fourth, the second superseding indictment
corrects other minor typographical errors contained in the first superseding indictment. The
government has provided the defendant with a comparison of the superseding indictment and
second superseding indictment.

                On May 3, 2024, the defendant moved to dismiss the first superseding indictment,
alleging various defects in that charging instrument. Because the second superseding indictment
is materially indistinguishable from the first superseding indictment, the government consents to
the Court construing the defendant’s motion to apply to the second superseding indictment, now
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that a true bill has been returned by the grand jury. The government is prepared to respond to that
motion on May 31, 2024, in accordance with the pre-trial briefing schedule previously set by the
Court.

                                                     Respectfully submitted,

                                                     BREON PEACE
                                                     United States Attorney

                                             By:          /s/
                                                     Ryan C. Harris
                                                     Anthony Bagnuola
                                                     Laura Zuckerwise
                                                     Assistant U.S. Attorneys

                                                     COREY R. AMUNDSON
                                                     Chief, Public Integrity Section
                                                     Criminal Division, U.S. Department of
                                                     Justice

                                             By:           /s/
                                                     Jacob R. Steiner
                                                     John P. Taddei
                                                     Trial Attorneys

cc:    Clerk of Court (JS) (via ECF and email)
       Counsel of Record (via ECF and email)




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